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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

 IN RE:                       §
                              §                     CASE NO. 22-31641-mvl7
 GOODMAN NETWORKS, INC. D/B/A §
 GOODMAN SOLUTIONS,           §                     CHAPTER 7
                              §
          Debtor.             §

                                        AMENDED
                               VERIFICATION OF MAILING LIST

          The Debtor certifies that the attached mailing list:

                  as the first mail matrix in this case.

                  adds entities not listed on previously filed mailing list(s).

                  changes or corrects name(s) and address(es) on previously filed mailing list(s).

                  deletes name(s) and address(es) on previously filed mailing list(s).

         Debtor’s review of its records is ongoing; Debtor will amend and/or supplement this list as
 necessary. In accordance with N.D. TX L.B.R. 1007.1, the above named Debtor(s) hereby verifies
 that the attached list of creditors is true and correct.


   Date                                               John Goodman, Consultant
                                                      Signer/Title

   January 9, 2023                                    /s/ David W. Parham
   Date                                               David W. Parham 15459500
                                                      Akerman LLP
                                                      2001 Ross Avenue, Suite 3600
                                                      Dallas, TX 75201
                                                      (214) 720-4300
                                                      david.parham@akerman.com

                                                      * 9460
                                                      Debtor's Social Security/Tax ID No.




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                         Brinks Home Security
                         Dept CH 8628
                         1990 Wittington Pl
                         Dallas, TX 75234


                         Charles J McGuire
                         McGuire Craddock & Struther PC
                         500 N Akard St., Ste 2200
                         Dallas, TX 75201


                         NextStep Recruiting LLC
                         4400 State Highway 121, Ste 300
                         Lewisville, TX 75056-5157




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